Case 1:21-cv-11205-FDS Document 182-105 Filed 01/06/25 Page1lof5

Exhibit 105

December 19, 2023 Notice
Delivery Confirmation
Case 1:21-cv-11205-FDS Document 182-105 Filed 01/06/25 Page 2of5

From: TrackingUpdates@fedex.com <TrackingUpdates@fedex.com>

Sent: Wednesday, December 20, 2023 10:28 AM

To: Josh Weiner <joshweiner@Catalinare.com>

Subject: FedEx Shipment 774539806120: Your package has been delivered

Warning: External email, use care with links & attachments

Hi. Your package was
delivered Wed, 12/20/2023 at
9:20am.
Case 1:21-cv-11205-FDS Document 182-105 Filed 01/06/25

e—_e—_e-_@

Delivered to 10805 OLD MILL RD, OMAHA, NE 68154
Received by R.LEISURE

OBTAIN PROOF OF DELIVERY

How was your delivery ?

wee

TRACKING NUMBER 774539306120

FROM SPARTA Insurance Holdings, Inc
5 Batterson Park Road
3rd Floor
FARMINGTON, CT, US, 06032

TO Pennsylvania Insurance Company
Jeffrey A. Silver
10805 OLD MILL RD
OMAHA, NE, US, 68154

SHIP DATE Tue 12/19/2023 06:35 PM
DELIVERED TO Mailroom
PACKAGING TYPE FedEx Envelope

ORIGIN FARMINGTON, CT, US, 06032

Page 3 of 5
Case 1:21-cv-11205-FDS Document 182-105 Filed 01/06/25 Page4of5

DESTINATION OMAHA, NE, US, 68154
NUMBER OF PIECES 1
TOTAL SHIPMENT WEIGHT 0.50 LB

SERVICE TYPE FedEx Standard Overnight

Notifications, from
start to finish

Get push notifications when you pair
FedEx Delivery Manager® with the
FedEx® Mobile app. You can
activate alerts in the app to track
your package. Then listen for the
virtual doorbell chime that lets you
know your package was delivered.

DOWNLOAD THE MOBILE APP

FOLLOW FEDEX

—f¥ v © in POP & GG

[© Please do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 9:27 AM CST 12/20/2023.

All weights are estimated.
Case 1:21-cv-11205-FDS Document 182-105 Filed 01/06/25 Page5of5

To track the latest status of your shipment, click on the tracking number above.

Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see
the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
Guarantee, or contact your FedEx Customer Support representative.

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